Case 1:14-cv-02302-CRK Document 137-3 Filed 03/22/18 Page 1 of 16




   EXHIBIT B
Yonkers sugar refineryCase
                       worker1:14-cv-02302-CRK           Document
                              gets $13.4M after bias lawsuit           137-3 Filed 03/22/18 Page 2 of 16
                                                             - NY D... http://www.nydailynews.com/new-york/yonkers-sugar-refinery-work...




                                          Want Unlimited Digital Access to NY Daily News? Try 13 WEEKS FOR ONLY 99¢




1 of 2                                                                                                                3/22/2018 12:45 PM
Yonkers sugar refineryCase
                       worker1:14-cv-02302-CRK           Document
                              gets $13.4M after bias lawsuit           137-3 Filed 03/22/18 Page 3 of 16
                                                             - NY D... http://www.nydailynews.com/new-york/yonkers-sugar-refinery-work...




             © 2016 New York Daily News




2 of 2                                                                                                               3/22/2018 12:45 PM
                    Case
NY Federal Jury Awards $13.41:14-cv-02302-CRK         Document
                             Million in Sexual Harassment Case ... 137-3     Filed 03/22/18 Page 4 of 16
                                                                    https://www.law.com/newyorklawjournal/2018/03/06/ny-federal-jur...




1 of 4                                                                                                            3/22/2018 12:47 PM
                    Case
NY Federal Jury Awards $13.41:14-cv-02302-CRK         Document
                             Million in Sexual Harassment Case ... 137-3     Filed 03/22/18 Page 5 of 16
                                                                    https://www.law.com/newyorklawjournal/2018/03/06/ny-federal-jur...




                   Jason Grant is a New York-based litigation
                   reporter for the New York Law Journal and
                   Law.com, and a former practicing attorney in
                   Manhattan. Contact Jason at jgrant@alm.com.                ( /author/profile/Jason Grant/)
                   On Twitter: @JasonBarrGrant




                     More from this author › (/author/profile/Jason Grant/)




2 of 4                                                                                                            3/22/2018 12:47 PM
                    Case
NY Federal Jury Awards $13.41:14-cv-02302-CRK         Document
                             Million in Sexual Harassment Case ... 137-3     Filed 03/22/18 Page 6 of 16
                                                                    https://www.law.com/newyorklawjournal/2018/03/06/ny-federal-jur...




                                                              →




3 of 4                                                                                                            3/22/2018 12:47 PM
                    Case
NY Federal Jury Awards $13.41:14-cv-02302-CRK         Document
                             Million in Sexual Harassment Case ... 137-3     Filed 03/22/18 Page 7 of 16
                                                                    https://www.law.com/newyorklawjournal/2018/03/06/ny-federal-jur...




4 of 4                                                                                                            3/22/2018 12:47 PM
                   Case 1:14-cv-02302-CRK
Landmark Sexual Harassment Settlement is Wake-Up Call Document
                                                      for Area... 137-3    Filed 03/22/18 Page 8 of 16
                                                                  http://www.westchestermagazine.com/Blogs/914INC-Incoming/Mar...




           Home        More




           Published: 03/14/2018




1 of 9                                                                                                        3/22/2018 12:56 PM
                   Case 1:14-cv-02302-CRK
Landmark Sexual Harassment Settlement is Wake-Up Call Document
                                                      for Area... 137-3    Filed 03/22/18 Page 9 of 16
                                                                  http://www.westchestermagazine.com/Blogs/914INC-Incoming/Mar...




2 of 9                                                                                                        3/22/2018 12:56 PM
                  Case 1:14-cv-02302-CRK
Landmark Sexual Harassment Settlement is Wake-Up CallDocument
                                                     for Area... 137-3     Filed 03/22/18 Page 10 of 16
                                                                  http://www.westchestermagazine.com/Blogs/914INC-Incoming/Mar...




                       &                LLP




3 of 9                                                                                                        3/22/2018 12:56 PM
                  Case 1:14-cv-02302-CRK
Landmark Sexual Harassment Settlement is Wake-Up CallDocument
                                                     for Area... 137-3     Filed 03/22/18 Page 11 of 16
                                                                  http://www.westchestermagazine.com/Blogs/914INC-Incoming/Mar...




4 of 9                                                                                                        3/22/2018 12:56 PM
                  Case 1:14-cv-02302-CRK
Landmark Sexual Harassment Settlement is Wake-Up CallDocument
                                                     for Area... 137-3     Filed 03/22/18 Page 12 of 16
                                                                  http://www.westchestermagazine.com/Blogs/914INC-Incoming/Mar...




5 of 9                                                                                                        3/22/2018 12:56 PM
                  Case 1:14-cv-02302-CRK
Landmark Sexual Harassment Settlement is Wake-Up CallDocument
                                                     for Area... 137-3     Filed 03/22/18 Page 13 of 16
                                                                  http://www.westchestermagazine.com/Blogs/914INC-Incoming/Mar...




6 of 9                                                                                                        3/22/2018 12:56 PM
                  Case 1:14-cv-02302-CRK
Landmark Sexual Harassment Settlement is Wake-Up CallDocument
                                                     for Area... 137-3     Filed 03/22/18 Page 14 of 16
                                                                  http://www.westchestermagazine.com/Blogs/914INC-Incoming/Mar...




7 of 9                                                                                                        3/22/2018 12:56 PM
                  Case 1:14-cv-02302-CRK
Landmark Sexual Harassment Settlement is Wake-Up CallDocument
                                                     for Area... 137-3     Filed 03/22/18 Page 15 of 16
                                                                  http://www.westchestermagazine.com/Blogs/914INC-Incoming/Mar...




8 of 9                                                                                                        3/22/2018 12:56 PM
                  Case 1:14-cv-02302-CRK
Landmark Sexual Harassment Settlement is Wake-Up CallDocument
                                                     for Area... 137-3     Filed 03/22/18 Page 16 of 16
                                                                  http://www.westchestermagazine.com/Blogs/914INC-Incoming/Mar...




9 of 9                                                                                                        3/22/2018 12:56 PM
